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            IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                Civil Division

ALEX YOUNG

               Plaintiff,

vs.                                                 Case No.: 2014 cv 001203
                                                    Judge: Beryl A Howell


RICHARD SARLES (in his official capacity)

              Defendant.



                            AFFIDAVIT OF ROBERT STEDMAN

       I, Robert Stedman, make this Affidavit on personal knowledge and information available

to me, and I am competent to testify to the matters contained herein.

       1.      I am employed in WMATA’s Rail Operations Planning and Scheduling

Department.

       2.      I was asked by WMATA’s Office of General Counsel to produce information

pertaining to the average ridership statistics for three Virginia Metrorail stations: Ballston, West

Falls Church, and Vienna for certain months of 2013.

       3.      As a result, I obtained the following data pertaining to the average numbers of

riders at each Metro Station for certain months of 2013. The information I obtained is based on

data WMATA keeps in the regular course of its business.

       4.      The Ballston Metro Station had an average total ridership of 11,185 riders per day

for the month of November 2013.

       5.      The West Falls Church Metro Station had an average total ridership of 10,854

riders per day for the month of October 2013.

       6.      The Vienna Metro Station had an average total ridership of 13,585 riders per day
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for the month September 2013.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed on July 28, 2014.


                                                 ____________________________
                                                 Robert Stedman
                                                 Rail Operations and Planning
